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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )   CRIMINAL ACTION NO.
        v.                                  )      2:17cr387-MHT
                                            )           (WO)
MARCUS ANTIONE HOPKINS,                     )
JR.                                         )

                           OPINION AND ORDER

      This court previously set a hearing on the petition

of the United States Probation Department to revoke the

term of supervision of defendant Marcus Antione Hopkins,

Jr.    See Order (doc. no. 62); see also Petition to Revoke

Supervision (doc. no. 54).               Since then, in a written

document submitted to the court and signed by government

counsel, defense counsel, and Hopkins himself, Hopkins

has agreed to waive his right to a revocation hearing in

exchange for a particular sentence.                  See Agreed Order

(doc. no. 65-1).         For the reasons that follow, the court

will accept the parties’ agreement, grant the revocation

petition,      revoke     Hopkins’s     term    of   supervision,         and
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sentence him to 12 months in custody with 12 months of

supervised release to follow.

     Federal      Rule     of   Criminal      Procedure      32.1   governs

“revoking or modifying probation or supervised release.”

Under the rule, Hopkins is entitled to “(A) written

notice of the alleged violation; (B) disclosure of the

evidence against [him]; (C) an opportunity to appear,

present evidence, and question any adverse witness unless

the court determines that the interest of justice does

not require the witness to appear; (D) notice of [his]

right to retain counsel or to request that counsel be

appointed if the person cannot obtain counsel; and (E)

an   opportunity      to    make   a       statement   and    present     any

information in mitigation,” also known as the right to

allocution.       Fed. R. Crim. P. 32.1(b)(2); see also Fed.

R.   Crim.   P.    32.1     advisory       committee’s       note   to   2005

amendment (noting the addition of the right to allocution

in response to an observation by the Eleventh Circuit

in United States v. Frazier, 283 F.3d 1242 (11th Cir.



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2002)).   The rule also makes plain that such revocation

hearings can be waived by the defendant: “Unless waived

by the person, the court must hold the revocation hearing

within    a   reasonable      time    in    the     district     having

jurisdiction.”       Fed. R. Crim. P. 32.1(b)(2) (emphasis

added); see also United States v. Jones, 798 F. App’x

494, 496-97 (11th Cir. 2020) (explaining that “[t]he

Federal   Rules      of   Criminal     Procedure,      which     govern

revocation hearings, allow a defendant to waive their

right to a hearing” based on the federal rule).*

    Given     this    rule,    the    court    is    satisfied         that

Hopkins’s waiver is sufficient for this court to proceed

without   a   revocation      hearing.        In    the   waiver,       he

“acknowledges he has had an opportunity to” review both




    * Allowing a defendant to waive a revocation hearing
in its entirety is also consistent with the rule’s
treatment of preliminary hearings and modifications of
supervised release, both of which can also be waived by
the defendant. See Fed. R. Crim. P. 32.1(b)(1)(A) (“The
person may waive the [preliminary] hearing.”); id. at
32.1(c)(2) (“A hearing is not required if: (A) the person
waives the [modification] hearing.”).

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(1) “the notice of the alleged violation of supervised

release” and (2) “the evidence against him.”                                 Agreed

Order (doc. no. 65-1) at 3.                      This corresponds to his

entitlement       at    a       revocation      hearing    to    “(A)       written

notice of the alleged violation; [and] (B) disclosure of

the    evidence        against          [him].”         Fed.    R.     Crim.      P.

32.1(b)(2).             Further,           in     the      waiver,          Hopkins

“acknowledges he is aware of the following rights and is

knowingly      waiving          these    rights    in     exchange         for    the

recommended          agreed        sentence,”       namely           (1)     “[t]he

opportunity to appear personally, present evidence, and

question adverse witnesses at a revocation hearing” and

(2) “[t]he opportunity to make a statement personally to

the    Court    in     mitigation         of    sentence       and    to    present

mitigating evidence to the Court.”                       Agreed Order (doc.

no.    65-1)     at     3.          This       corresponds       to    Hopkins’s

entitlement       at        a     revocation       hearing       to        “(C)    an

opportunity to appear, present evidence, and question any

adverse witness unless the court determines that the



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interest of justice does not require the witness to

appear; ... and (E) an opportunity to make a statement

and present any information in mitigation.”                    Fed. R.

Crim. P. 32.1(b)(2).         While the waiver does not mention

Hopkins’s entitlement to “(D) notice of [his] right to

retain counsel or to request that counsel be appointed

if the person cannot obtain counsel,” id., there is no

need here because he is already represented by counsel.

    Finally,     the   court     finds    the    parties’     proposed

sentence--12 months of imprisonment and 12 months of

supervised release--to be reasonable and fair.               The court

understands    that    the   violations     to   which    Hopkins      is

pleading nolo contendere constitute a Grade A violation

in the United States Sentencing Guidelines; that his

criminal history category at the time of sentencing was

I; and that the applicable guideline range is therefore

12 to 18 months.        A 12-month sentence followed by 12

months of supervised release is appropriate here in light

of the serious nature of Hopkins’s violation and the



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sentencing range established for his violation.                  See 18

U.S.C. § 3553(a).       The Probation Department has orally

indicated to the court that it does not object to the

proposed sentence.       With these understandings in mind,

and after having considered and consulted the Sentencing

Guidelines in general and evaluated the reasonableness

of a sentence through the lens of 18 U.S.C. § 3553, the

court   finds   that   the   parties’      proposed     sentence       for

Hopkins is sufficient, but not greater than necessary,

to comply with the statutory purposes of sentencing set

forth in subpart (a) of § 3553.

                                   ***

    Accordingly, it is ORDERED as follows:

    (1) The joint motion to accept proposed agreement

(doc. no. 65) is granted, and the court accepts the

parties’ agreement, including defendant Marcus Antione

Hopkins,   Jr.’s    waiver    of    his   right    to   a   revocation

hearing (doc. no. 65-1).




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     (2) The court finds that defendant Hopkins committed

two violations of the mandatory condition of the terms

of his supervised release that he must not commit another

federal, state, or local crime.                These are violations

number one and two in the petition to revoke supervised

release (doc. no. 54).

     (3) The petition to revoke supervised release (doc.

no. 54) is granted as to violations number one and two.

     (4) The court finds that these violations constitute

a Grade A violation in the U.S. Sentencing Guidelines.

     (5) The      court     finds       that   defendant       Hopkins’s

criminal history category at the time of sentencing was

I.

     (6) The court finds that the guideline range of

imprisonment for revocation is 12 to 18 months.

     (7) Having considered and consulted Chapter 7 of the

Sentencing Guidelines, the 18 U.S.C. § 3553(a) factors,

and the parties’ sentencing agreement, it is the judgment

of the court that defendant Hopkins is committed to the



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custody of the Federal Bureau of Prisons to be imprisoned

for 12 months, with 12 months of supervised release to

follow.    This term of imprisonment shall run concurrently

to any state term of imprisonment resulting from another

offense that is relevant conduct to the instant offense

of   conviction.          See   U.S.     Sen’g    Guidelines       Manual

§ 5G1.3(c).

     DONE, this the 11th day of January, 2021.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




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